Case 2:03-cV-02330-SHI\/|-ch Document 378 Filed 04/27/05 Page 1 of 5 Page|D 652

INmEUNITED sTATEs DISTRICT coURT 05

 

FoRTHEWEsTERN DIsTRICToFTENNESsEE ‘ 5 it
WEsTERN DrvlsIoN sort
l CL.\` .'f;;'::d f_; l 9
) N.D`. o.L~. nfl [1;, ;_Wg.
LECTROLARM cUsTOM sYsTEMs, 1Nc., ) ' "S
)
Plaimiif, ) cIvIL No. 03-2330 (Ma)(A)
)
v- )
)
vlcoN INDUSTRIES, INC., er at )
)
Defendants. )
)
)

 

ORDER GRANTING LECTROLARM’S MOTION FOR LEAVE TO FILE A
REPLY MEMORANDUM IN SUPPORT OF ITS MOTION FOR ORDER TO SHOW
CAUSE WHY VICON SHOULD NOT BE HELD IN CONTEMPT OF COURT

 

Lectrolan'n having moved the Court to authorize the filing of Reply to in support of
its motion for order to show cause why Vioon should not be held in contempt of court, the Court

has determined that it is appropriate to authorize such filing.

1'1“ ls so oRDERBD this so 'day of ,/j ,M_/o_/ ,2005.

’CS - mmr+l ("}H:e//Mj&f,._)

Magistrate Judge Anderson

DSMDB.1912091.1 Th!e document entered on the docket sheet in comp'!ance

Wlth F§ute 58 ar d or?' , "`€ "_£J;Q`j :(Q§, ,_

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 378 in
case 2:03-CV-02330 Was distributed by faX, rnaiI, or direct printing on
April 27, 2005 to the parties listed.

 

 

Robert E. Craddock

WYATT TARRANT & CO1\/[BS
P.O. Box 775000

1\/1emphis7 TN 38177--500

Kenneth Brothers

DICKSTEIN SHAPIRO MORIN & OSHINSKY
2101 L Street7 N.W.

Washington, DC 20037--152

Dipu A. Doshi

DICKSTEIN SHAPIRO MORIN & OSHINSKY
2101 L Street7 N.W.

Washington, DC 20037--152

Mark 1. Koffsky

GOODWIN PROC TER LLP
599 Lexington Ave.

NeW York7 NY 10022

.1 ohn .1. Mulrooney
CRONE & MASON, PLC
5100 Poplar Ave.

Ste. 3200

1\/1emphis7 TN 38137

Kemper 13. Durand

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Laurence E. Fisher

DICKSTEIN SHAPIRO MORIN & OSHINSKY
2101 L Street7 N.W.

Washington, DC 20037--152

Case 2:03-cV-02330-SHI\/|-ch Document 378 Filed 04/27/05 Page 3 of 5 Page|D 654

DeAnna Allen

DICKSTEIN SHAPIRO MORIN & OSHINSKY
2101 L Street7 N.W.

Washington, DC 20037--152

Rachel C. Hughey
h/[ERCHANT & GOULD PC
80 S. Eighth St.

3200 IDS Center
1\/linneapolis7 MN 55402

Robert R. Laurenzi
DARBY & DARBY
805 Third Ave

NeW York7 NY 10022

Lee A Goldberg
DARBY & DARBY
805 Third Ave.

NeW York7 NY 10022

Douglas F. Halijan

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Gianni Minutoli

DICKSTEIN SHAPIRO MORIN & OSHINSKY
2101 L Street7 N.W.

Washington, DC 20037--152

Gary M. Hoffman

DICKSTEIN SHAPIRO MORIN & OSHINSKY
2101 L Street7 N.W.

Washington, DC 20037--152

Paul F. Ware
GOODWIN PROC TER LLP

EXchange Place
130ston7 MA 02109--288

Albert L. Underhill
h/[ERCHANT & GOULD PC
80 S. Eighth St.

3200 IDS Center
1\/linneapolis7 MN 55402

Case 2:03-cV-02330-SHI\/|-ch Document 378 Filed 04/27/05 Page 4 of 5 Page|D 655

Erik G. SWenson
h/[ERCHANT & GOULD PC
80 S. Eighth St.

3200 IDS Center
1\/linneapolis7 MN 55402

Steven .1. Nachtwey

BARTLIT BECK HERMAN PALENCHAR & SCOTT
54 W. Hubbard St.

Ste. 300

Chicago, IL 60610

Michael J. SWeedler
DARBY & DARBY
805 Third Ave.

NeW York7 NY 10022

Earle J. SchWarZ
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

.1 ohn C. Englander
GOODWIN PROC TER LLP
EXchange Place

BOSton7 MA 02109--288

Rachael Lea Leventhal

Dickstein Shapiro Morin & Oshinsky LLP
2101 L Street7 N.W.

Washington, DC 20037

David W. Whealan
Goodwin Procter LLP

599 Lexington Avenue
NeW York7 NY 10022

.1. Anthony DoWns
GOODWIN PROC TER LLP
EXchange Place

BOSton7 MA 02109--288

Rebecca W. Bacon

BARTLIT BECK HERMAN PALENCHAR & SCOTT
54 W. Hubbard St.

Ste. 300

Chicago, IL 60610

Case 2:03-cV-0233O-SHI\/|-ch Document 378 Filed 04/27/05 Page 5 of 5 Page|D 656

John C. Snodgrass

Dickstein Shapiro Morin & Oshinsky LLP
2101 L. Street, N.W.

Washington, DC 20037

Alan E. Littmann

Bartlit Beck Herman Palenchar & Scott
Courthouse Place

54 West Hubbard Street

Suite 300

Chicago, IL 60610

Douglas C. Doskocil
GOODWIN PROC TER LLP
EXchange Place

130ston7 MA 02109--288

Sean W. Gallagher

BARTLIT BECK HERMAN PALENCHAR & SCOTT
54 W. Hubbard St.

Ste. 300

Chicago, IL 60610

Honorable Samuel Mays
US DISTRICT COURT

